                  Case 2:22-cv-03931 Document 4 Filed 06/08/22 Page 1 of 1 Page ID #:34
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR:    BEACH DISTRICT SURGERY CENTER, L.P.
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
BEACH DISTRICT SURGERY CENTER, L.P.,                                          CASE NUMBER:


                                                                                                     2:22-cv-03931
                                                              Plaintiff(s),
                                     v.
CIGNA HEALTH AND LIFE INS.
                                                                                             CERTIFICATION AND NOTICE
CO., et al.,
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                          (Local Rule 7.1-1)

TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                    BEACH DISTRICT SURGERY CENTER, L.P.
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                  PARTY                                                             CONNECTION / INTEREST
BEACH DISTRICT SURGERY CENTER, L.P.                                           PLAINTIFF

CIGNA HEALTH AND LIFE INS. CO.                                                DEFENDANT




         June 8, 2022                                      s/ Jonathan M. Rotter
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           BEACH DISTRICT SURGERY CENTER, L.P.


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
